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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,             )     Criminal Case No. 95cr0973-JM
                                            )
 11                       Plaintiff,        )
                                            )
 12         v.                              )     ORDER AND JUDGMENT
                                            )     TO DISMISS INDICTMENT
 13   JORGE ALBERTO SALLES(16),             )     AND RECALL ARREST WARRANT
                                            )
 14                       Defendant.        )
                                            )
 15                                         )
 16         Upon application of the United States Attorney, and good cause appearing
 17   therefrom,
 18         IT IS HEREBY ORDERED that the Fourth Superseding Indictment in the above-
 19   captioned case is dismissed as to defendant Jorge Alberto Salles without prejudice.
 20         IT IS FURTHER ORDERED that the arrest warrant for defendant Jorge Alberto
 21   Salles is hereby recalled.
 22   DATED: May 16, 2013
 23
                                                Hon. Jeffrey T. Miller
 24                                             United States District Judge
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